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                                Exhibit
                                  3
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     ALEKSEJ GUBAREV vs BUZZFEED                                                1

·1· · · · · ·UNITED STATES DISTRICT COURT
· · · · · · ·SOUTHERN DISTRICT OF FLORIDA
·2· · · · · · · · · MIAMI DIVISION

·3

·4· ·ALEKSEJ GUBAREV, XBT· · :
· · ·HOLDING S.A., and· · · ·:
·5· ·WEBZILLA, INC.,· · · · ·:
· · · · · · · · · · · · · · ·:
·6· · · · · Plaintiffs,· · · : Case No:
· · · · · · · · · · · · · · ·: 1:17-cv-60426-UU
·7· ·v.· · · · · · · · · · · :
· · · · · · · · · · · · · · ·:
·8· ·BUZZFEED, INC., and· · ·:
· · ·BEN SMITH,· · · · · · · :
·9· · · · · · · · · · · · · ·:
· · · · · · Defendants.· · · :
10

11

12· · · · · · · · ·**CONFIDENTIAL**

13· · · · DEPOSITION OF ANTHONY J. FERRANTE

14

15· · · · · · · ·Friday, July 27, 2018

16· · · · · · · · · · 10:20 a.m.

17

18· · · · · · · ·Davis Wright Tremaine
· · · · · · 1919 Pennsylvania Avenue, N.W.
19· · · · · · · · ·Washington, D.C.

20

21· · · · ·Terry L. Bradley, Court Reporter

22


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·1· · · · · · · · P R O C E E D I N G S

·2

·3· · · · · · · · ANTHONY J. FERRANTE

·4· · having been first duly sworn, testified as

·5· · follows:

·6

·7· · · · · · · · · · ·EXAMINATION

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · Good morning.

10· · · ·A.· · Good morning.

11· · · ·Q.· · Would you please state your name for

12· ·the record.

13· · · ·A.· · Anthony Ferrante.

14· · · ·Q.· · And Mr. Ferrante, can you tell me,

15· ·have you ever been deposed before?

16· · · ·A.· · I have not.

17· · · ·Q.· · So the ground rules are pretty

18· ·simple, I think.· I'll try and ask you a series

19· ·of questions, you'll get a chance to answer.

20· ·If I ask you a question and you respond to it,

21· ·I will assume that you understood the question.

22· ·Is that fair?


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·1· ·investigatory work?

·2· · · ·A.· · Can you be more clear.

·3· · · ·Q.· · Well, you seemed to differentiate

·4· ·when you answered the last question about not

·5· ·with respect to the BuzzFeed engagement, so I

·6· ·wanted to know --

·7· · · ·A.· · I differentiated because I am a

·8· ·career government employee with extensive

·9· ·contacts in and throughout the government, and

10· ·I want to be crystal clear that I did not speak

11· ·to anyone within the government regarding my

12· ·work on this case, but I do maintain positive

13· ·social relationships with government employees.

14· · · ·Q.· · Sure.· Okay.· Did you or anyone at

15· ·your team contact Fusion GPS?

16· · · ·A.· · At the --

17· · · · · · ·I would say when we were first

18· ·retained we had an information exchange with

19· ·two representatives from Fusion GPS.

20· · · ·Q.· · Which --

21· · · · · · ·MS. BOLGER:· I'm going to take a

22· ·quick break.· Hold on.


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·1· · · · · · ·Talk to me outside.

·2· · · · · · ·(Recess taken at 11:05 a.m.)

·3· · · · · · ·(Deposition resumed at 11:06 a.m.)

·4· · · · · · ·Can you ask your next question.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · Which representatives of Fusion GPS

·7· ·did you speak to?

·8· · · · · · ·MS. BOLGER:· So the meetings with

·9· ·Fusion GPS were part of a joint defense

10· ·agreement in another matter not related to this

11· ·matter, and obviously Mr. Ferrante can give you

12· ·some information that wouldn't be privileged,

13· ·like who was there, but the information in that

14· ·meeting actually related to a different matter.

15· · · · · · ·MR. FRAY-WITZER:· Okay.· Well, Mr.

16· ·Ferrante's testimony was that when they were

17· ·first retained in this matter they had an

18· ·information exchange with Fusion GPS.· So I

19· ·guess I'm --

20· · · · · · ·MS. BOLGER:· It's not in this

21· ·matter.· I mean, there's a different --

22· · · · · · ·There are other matters, right?


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·1· ·This information exchange was not --

·2· · · · · · ·It was pursuant to a joint defense

·3· ·agreement in a different matter.

·4· · · · · · ·MR. FRAY-WITZER:· I just don't think

·5· ·that's what the testimony was so far.

·6· · · · · · ·MS. BOLGER:· I think you're an

·7· ·excellent questioner and I don't mean this with

·8· ·disrespect, but I don't think your question was

·9· ·sufficiently precise that you could make that

10· ·distinction at this moment.

11· ·BY MR. FRAY-WITZER:

12· · · ·Q.· · Well, let's start with:· Who were

13· ·the representatives of Fusion GPS?

14· · · ·A.· · I don't actually recall their last

15· ·names, I just remember Laura and Jake, I

16· ·believe.· I may even be wrong there.

17· · · ·Q.· · Did you meet with Glen Simpson?

18· · · ·A.· · No.

19· · · ·Q.· · In your meeting with Fusion GPS did

20· ·you discuss Aleks Gubarev?

21· · · · · · ·MS. BOLGER:· I'm going to again say

22· ·that the meeting was pursuant to a joint


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·1· ·defense privilege in a different matter, so I'm

·2· ·going to instruct the witness not to answer the

·3· ·question.

·4· · · · · · ·MR. FRAY-WITZER:· I've now limited

·5· ·very specifically to one of the plaintiffs in

·6· ·this matter.· I'm not sure how his name would

·7· ·have come up in connection with a completely

·8· ·unrelated case.· I understand you're

·9· ·instructing the witness not to answer, but I

10· ·will say that we'll take that up.

11· · · · · · ·MS. BOLGER:· That's fine.· You know

12· ·you're not the only lawsuit in town on this

13· ·subject.

14· · · · · · ·MR. FRAY-WITZER:· We're the only

15· ·important lawsuit.

16· · · · · · ·(Laughing.)

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · So just to be fair, I'm going to ask

19· ·a series of questions.· You should wait because

20· ·I suspect you'll get similar instructions.

21· · · · · · ·In connection with your meeting at

22· ·Fusion GPS did you discuss XBT Holdings?


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·1· · · · · · ·MS. BOLGER:· I'll instruct the

·2· ·witness not to answer for the same reasons.

·3· ·BY MR. FRAY-WITZER:

·4· · · ·Q.· · In your meeting with Fusion GPS did

·5· ·you discuss Webzilla?

·6· · · · · · ·MS. BOLGER:· Same instruction.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · In your meeting with Fusion GPS did

·9· ·you discuss the contents of the December memo?

10· · · · · · ·MS. BOLGER:· Same instruction.

11· · · · · · ·And also objection.· Vague.· I don't

12· ·know that this witness knows what the December

13· ·memo is.

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · Do you know what the December memo

16· ·is?

17· · · ·A.· · I actually don't.

18· · · ·Q.· · Why don't we mark this.

19· · · · · · ·(Exhibit 1 marked for

20· ·identification.)

21· · · · · · ·So you've been shown what's been

22· ·marked as Exhibit No. 1.· Why don't you take a


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·1· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

·2· · · · · ·I, Terry L. Bradley, the officer before

·3· ·whom the foregoing deposition was taken, do

·4· ·hereby certify that the witness whose testimony

·5· ·appears in the foregoing deposition was duly

·6· ·sworn by me; that the testimony of said witness

·7· ·was taken by me in shorthand and thereafter

·8· ·reduced to computerized transcription under my

·9· ·direction; that said deposition is a true

10· ·record of the testimony given by said witness;

11· ·that I am neither counsel for, related to, nor

12· ·employed by any of the parties to the action in

13· ·which this deposition was taken; and further,

14· ·that I am not a relative or employee of any

15· ·attorney or counsel employed by the parties

16· ·hereto, nor financially or otherwise interested

17· ·in the outcome of the action.

18
· · · · · · · · · · · ____________________________
19· · · · · · · · · · Notary Public in and for
· · · · · · · · · · · the District of Columbia
20
· · ·My Commission expires:· April 30, 2022
21

22


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